                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

UNITED STATES OF AMERICA,               )
    Plaintiff,                          )
                                        )       18 CR 495
v.                                      )       Honorable Sara Ellis
                                        )
IVAN PARKER,                            )
     Defendant.                         )



                      MOTION TO SUPPRESS EVIDENCE

             NOW COMES defendant IVAN PARKER, by and through his attorney,

QUINN A. MICHAELIS, and respectfully requests pursuant to the Fourth

Amendment to the United States Constitution, the Federal Rules of Criminal

Procedure 12(b)(3), Illinois v. Gates, 462 U.S. 213 (1983), United States v. Leon, 468

U.S. 897 (1984), Franks v. Delaware, 438 U.S. 154 (1978), and Wong Sun v. United

State, 371 U.S. 471 (1964) that this Honorable Court enter an order suppressing all

evidence obtained as a result of the search of 4244 West Cermak, Unit 2ER,

Chicago, Illinois and 419 North Broadway, Apt B, Joliet Illinois.

      I.      Factual Background.

      IVAN PARKER has been charged in a one count indictment with Hobbs Act

robbery, in violation of 18 U.S.C. § 1951(a). The indictment was the result of a

robbery of a Loomis guard who was robbed as he was servicing an ATM inside the

vestibule of a Chase Bank located at 3856 West 26th Street, Chicago Illinois. The

robbery occurred on July 27, 2018. According to a police report prepared after the




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robbery, robber a male Hispanic (dark skinned) or a male black, 25-30 years old,

with facial hair, wearing a black cap, a black zip up jacket and black pants. Agents

requested video surveillance around the surrounding area to determine where the

suspect had fled and it appeared that the suspect entered a building at address

4246 West Cermak, Chicago, Illinois. According to the affidavit for search warrant,

at some undisclosed point, the FBI interviewed Witness F, the owner of the building

at 4246 West Cermak. Witness F told the FBI that the exterior door provides access

to the entire building, including multiple apartments located at 4244-4250 West

Cermak Road. Agents then showed Witness F a surveillance photograph

(photographs contained page 15 of Exhibit A). Witness F stated that the individual

in the surveillance photograph “resembled” IVAN PARKER, who Witness F had

seen with Individual A when they agreed to rent one of his apartments. He went on

to claim that IVAN PARKER was living in apartment 4244 West Cermak, Unit

2ER, and provided the FBI with a phone number for IVAN PARKER.

      From that point, according to the affidavit (Ex. A and Ex B), the agent

swearing to the complaint discovered that the phone number was connected to

utility service for Unit 2ER under the name IVAN PARKER. The agent then

viewed booking photographs of IVAN PARKER and concluded that IVAN PARKER

matches the general physical attributes of the suspect who robbed the bank.

Booking photographs of IVAN PARKER were then subsequently used in a photo

array which was shown to the victim of the robbery.




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      The warrant for the search warrant for the Cermak address, and later for the

Broadway address were not supported by probable cause and the “good faith”

exception to the exclusionary rule does not apply to save the warrant from any

taint. Therefore, the evidence obtained from the execution of the search warrants

and any fruits of the illegal search must be suppressed.

      II.    The Search Warrant in this Case was not Supported by
             Probable Cause.

      The Fourth Amendment to the United States Constitution provides:
      The right of the people to be secure in their persons, houses, papers, and
      effects, against unreasonable searches and seizure, shall not be violated, and
      no warrants shall issue, but upon probable cause, supported by Oath or
      affirmation, and particularly describing the place to be searched, and the
      person or things to be seized.

U.S. Const. amend IV. The right to privacy in one’s home is of paramount

importance protected by the Fourth Amendment. See e.g. Payton v. New York, 445

U.S. 573, 585 (1980) (“physical entry of the home is the chief evil against which the

wording of the Fourth Amendment is directed.”); United States v. Martinez-Fuerte,

428 U.S. 543, 561 (1976)(the right “sanctity of private dwellings” has been held to be

the right “ordinarily afforded the most stringent Fourth Amendment protection”).

Under the Fourth Amendment, a judge may not properly issue a warrant to search

a privet dwelling “unless he can find probable cause therefor from facts or

circumstances presented to him under oath or affirmation.” Nathanson v. United

States, 290 U.S. 41, 47(1933). An affidavit must provide the magistrate with a

“substantial basis” for determining the existence of probable cause. Illinois v.

Gates, 462 U.S. 213, 239 (1983). A wholly conclusory statement fails to meet this




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requirement. Id at 239. Sufficient information must be presented to the magistrate

to allow that official to determine whether probable cause exists, his actions cannot

be a mere ratification of the bare conclusions of others. Id.

      Probable cause is premised on “the factual and practical considerations of

everyday life on which reasonable and prudent men, not legal technicians, act.”

Brinegar v. United States, 338 U.S. 160, 175 (1949). A probable cause

determination is based on the totality of the circumstances. Gates, 462 U.S. at 238.

“The task of the issuing magistrate is simply to make a practical, common-sense

decision whether, given all the circumstances set forth in the affidavit before him,…

there is a fair probability that contraband or evidence of a crime will be found in a

particular place.” Id. When an affidavit is the only evidence presented to a judge in

support of a search warrant, the validity of the warrant rests solely on the strength

of the affidavit. United States v. Roth, 391 F.2d 507, 509 (7th Cir. 1967).

      When an affidavit for a search warrant is based on information provided by a

confidential informant, the informant’s “’veracity,’ ‘reliability’ and ‘basis of

knowledge’ are all highly relevant in determining the value of his report.” Gates,

462 U.S. at 230; United States v. Bell, 585 F.3d 1045, 1049 (7th Cir. 2009). Amongst

the factors to be considered are (1) the extent to which police corroborated the

informant’s claims; (2) the degree to which the informant acquired knowledge of the

events through first-hand observation; (3) the amount of detail provided; (4) the

interval between the date of the events and the police officer’s application for the




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search warrant; and (5) whether the informant personally appeared and testified

before the issuing judge. See Bell, 585 F.3d at 1049.

      In some cases, informants of unknown reliability can establish probable

cause, but there should be independent police corroboration as well. Gates, 462 U.S.

at 238-42; United States v. Koerth, 312-F.3d 862, 867-68. That is the crux of this

case—there was insufficient corroboration of the claims of a first-time informant of

unknown reliability. The complaint does not include information that could have

adequately corroborated the information supplied by this first-time informant.

Indeed, the complaints for search warrants did not even include a blanket assertion

that the CI was reliable—although such an assertion without supporting evidence

would still have been insufficient. Koerth, 312 F.3d at 867. The agents in this case

could not present such information in the warrant because it appears that they had

never worked with or even met this CI before, and there is additionally no

indication that they knew whether this CI had ever provided reliable, accurate

information in the past.

      Assessing an informant’s credibility can also include considerations of

whether he has a history of providing reliable information to the police. United

States v. Sidwell, 440 F.3d 865, 869 (7th Cir. 2006) The Seventh Circuit has

emphasized that “[s]uch history is important in determining whether, or the extent

to which, an informant’s information is colored by a bias against a defendant”.

United States v. Searcy, 664 F.3d 1119, 1123 (7th Cir. 2011)(emphasizing that the

informant’s pattern of providing information to police that led to the arrest of three




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other individuals indicated that he was not specifically targeting the defendant, and

concluding that there was less concern about whether the informant was a rival

drug dealer, and angry customer, or had some other issue with the defendant).

      Whether an informant was recently arrested is relevant to his credibility.

Williamson v. United States, 512 U.S. 594, 607-08 (1994) (“A person arrested in

incriminating circumstances has a strong incentive to shift blame or downplay his

own role in comparison with that of others, in hopes of receiving a shorter sentence

and leniency in exchange for cooperation.”); United States v. Olson, 408 F.3d 366

(7th Cir. 2005)(noting that a newly-arrested informant “merits a greater dose of

skepticism when addressing his credibility.”

      The affidavits in this case omitted many key pieces of information. To start,

there was no information the affidavit regarding Witness F’s reliability. The

affidavits did not indicate whether Witness F was an unquestionably honest citizen,

see Gates, 462 U.S. at 233-34, or a typical informant. Ex. 1 at 16, Ex. 2 at 17.

According to Agent Gourley, who prepared both affidavits, the “FBI interviewed

Witness F.” Id. This witness does not appear to have appeared before a judge to

swear to the reliability of the information he provided. Agent Gourley says noting

in either affidavit about Witness F’s reliability, nor does he provide any information

as to whether Witness F had any history as an informant. There is no information

in either affidavit regarding whether Witness F had ever provided reliable

information in the past, and if so, whether he had been paid for that information,

whether that information had been reliable, how many times he had provided




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reliable information, or the nature of that information. In fact, Agent Gourley did

not even include a conclusory statement that he believed Witness F was reliable.

See Koerth, 312 F.3d at 867 (finding that the affidavit did not support the issuance

of a search warrant based in part because “the affidavit fail[ed] to explain the

extent, if any, that [the informant] ha[d] previously provided information leading to

arrest or prosecutions for criminal activity of any kind.”).

      Except for Agent Gourley’s attempts at corroboration, the affidavits hinged

entirely on Witness F’s identification of IVAN PARKER, which contained no

information about Witness F’s track record of reliability.

      Furthermore, the affidavits contain no information about Witness F’s

veracity. The affidavit does not contain information about whether Witness F had

any criminal history, nor the nature of any criminal history he may have had.

There is no mention about whether Witness F had arrests or convictions

demonstrating a history of dishonesty, the use of aliases, or fraud convictions.

      The affidavits also omit whether Witness F had any affiliation with a street

gang or other criminal organization. If Witness F had such an affiliation, that

information is relevant to a determination of his credibility, especially if that

information tends to show that Witness F identified IVAN PARKER in order to

protect a fellow gang member who was the actual suspect of the robbery, or whether

his membership in a criminal organization gave him incentive to provide

information against IVAN PARKER.




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      The affidavits also remain silent about the nature of the relationship between

Witness F and IVAN PARKER, other than indicating Witness F knew that IVAN

PARKER was living in Unit 2ER. The affidavits do not mention for how long

Witness F knew IVAN PARKER, whether he regularly saw him, or whether they

were acquaintances. Agent Gourley provides no information in either affidavit to

give the judge an opportunity to evaluate the nature of Witness F and IVAN

PARKER’S relationship to determine whether Witness F had any motive to provide

information against IVAN PARKER.

      More troubling is that the affidavits do not contain any physical description

of IVAN PARKER as provided by Witness F. The affidavits state only that Witness

F was shown a surveillance photograph (which is difficult to decipher in Exhibit A),

at which point he stated that the person in the photo “resembled” IVAN PARKER.

The agent did not provide Witness F with any photo arrays. Agent Gourley simply

wanted a name, any name, to build a case around, no matter how shaky the

foundation on which that case was built. Witness F’s unreliable information that

the person in the surveillance photo “resembled” IVAN PARKER is the only piece of

information presented in the affidavits for search warrants that tie IVAN PARKER

to the robbery of the Chase Bank.

      Without Witness F’s scant information, there is nothing else to present in the

affidavit for the search warrant, and without more, these affidavits cannot be relied

upon to adequately protect IVAN PARKER from unreasonable searches and

seizures. The search warrants and the complaint are both based on information




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provided by Witness F. If that information fails because of a lack of credibility and

reliability of Witness F, then the search of the Cermak apartment must also fail, as

well as the subsequent warrant and search of the Broadway address, and the arrest

of IVAN PARKER. In short, the affidavits for search warrant did not provide the

issuing judge with the sufficient showing of probable cause to issue the search

warrants. See Koerth, 312 F.3d at 867-70 (previously unknown informant stated

that he saw drugs at defendant’s residence and had purchased from the defendant

in the past; the court found that the affidavit lacked an adequate foundation in part

because the police did not take sufficient steps to corroborate the informant’s

statements.).

      III.   The Good Faith Exception Should Not Apply In This Case.

      Having obtained the search warrants from the issue judge, the inquiry then

shifts to whether the FBI agents relied on the warrants in good faith. Under the

good faith exception to the exclusionary rule, courts will not suppress evidence

when a law enforcement officer relies in objective good faith on a faulty but facially

valid warrant. United States v. Leon, 468 U.S. 897, 962 (1984). The “good faith

exception” does not apply (and therefore the evidence should be suppressed) if (1)

courts have clearly held that a materially similar affidavit previously failed to

establish probable cause under indistinguishable facts; (2) the affidavit is so plainly

deficient that any reasonably well-trained officer would know that probable cause

was lacking; or (3) the officer was dishonest or reckless in preparing the affidavit.

Bell 585 F.3d 1052; Koerth, 312 F.3d 869.




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       The facts in this case show that the good faith exception should not apply

here. The investigation in this case had essentially stagnated until the interview of

Witness F. Witness F’s identification of IVAN PARKER as someone who

“resembled” the individual in the surveillance photo is the only piece of information

that connects IVAN PARKER in any way to the robbery of the Chase Bank.

However, Agent Gourley chose to provide absolutely no facts critical to the inquiry

into Witness F’s reliability and veracity. This suggests bad faith, and these

omissions by Agent Gourley cannot be overlooked, particularly because FBI agents

often must author very comprehensive affidavits for search warrants and should be

well aware of the what the law requires. These warrants, however, fell short.

       IV.     Conclusion

       For the foregoing reasons, IVAN PARKER respectfully requests that this

Court enter an order suppressing all evidence that was seized as a result of the

search of both 4244 West Cermak, Unit 2ER, Chicago, Illinois, and 419 North

Broadway, Apt B, Joliet, Illinois, and any fruits of those searches. Alternatively,

IVAN PARKER requests that this Court grant an evidentiary hearing to more fully

develop these factual matters.



Respectfully submitted,

/s/Quinn A. Michaelis

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 2, 2019, I electronically filed the above

                         MOTION TO SUPPRESS EVIDENCE


with the Clerk of Court using the CM/ECF system to all listed parties in the case.

       Respectfully Submitted on April 2, 2019


By His Attorney,

s/ Quinn A. Michaelis

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